                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 In the matter of:

 Francetta Boyd                                                Case No. 17-47680
                          Debtor(s),          /                Chapter 13
                                                               Hon. Mark A. Randon
 Francetta Boyd
                         Plaintiff(s)

 v.
                                                               Adversary Proceeding No. 19-04310
 I.C. System, Inc.
 Samer G. Shamoon, D.D.S., P.C
                     Defendant(s),                /




                   ADVERSARY PROCEEDING SCHEDULING ORDER


       After consultation with the parties, pursuant to Fed. R. Bankr. P. 7016 and 7026, and the
parties having conducted a conference and submitted a written report thereof (A26(f) Report@)
under Fed. R. Civ. P. 26(f), IT IS HEREBY ORDERED that further proceedings in this case
shall be governed by the following:


                                                I.
                     Discovery Plan and Other Provisions of Rule 26(f) Report

       The Rule 26(f) Report is adopted as an order of this Court and incorporated herein.



                                                  II.
                                 Filing of Joint Final Pretrial Order

       A joint final pretrial order prepared in accordance with L.B.R. 7016-1(E.D.M.) shall be
submitted for entry at least seven (7) days before the final pretrial conference.     In the portion of
the joint final pretrial order designated AIssues of Law to be Litigated@, each party shall provide
after each listed issue, that party=s three strongest reported cases in support of its view of the law.

                                                      III.

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                                              Mediation


       The Court encourages the parties to consider mediation of this adversary proceeding
pursuant to L.B.R. 7016-2 (E.D.M.).        If all parties agree to mediation, the parties should file a
stipulation and submit to the Court a proposed order appointing the mediator.       If the parties have
agreed to select a mediator from the list of approved mediators on the Court's website, the proposed
order should contain the name of the mediator when it is submitted to the Court for entry.       If the
parties have not agreed on the name of the mediator, the proposed order appointing the mediator
should be submitted without a mediator's name and the Court will then select a mediator from the
approved list and indicate such person's name in the order that is entered.    All mediation must be
concluded no later than five days before the final pretrial conference scheduled by this order. The
Court will not adjourn the final pre-trial conference or the trial to permit mediation to continue
past the deadline set by this order.     If the parties desire to further discuss mediation with the
Court, the parties shall jointly contact Krystal Player, Judge Randon's Law Clerk, to arrange a time
for a conference call or a conference in chambers with the Court.

                                                   IV.
                                       Final Pretrial Conference

       A final pretrial conference will be held on June 22, 2020 at 2:00 p.m, before the Honorable
Mark A. Randon, at 211 W. Fort Street, 18th Floor, Courtroom 1825, Detroit, Michigan.



                                                 V.
                                Trial Date(s) in Bankruptcy Court

       THE TRIAL OF THIS MATTER SHALL COMMENCE ON July 16, 2020 at 10:00 a.m.,
before the Honorable Mark A. Randon, at 211 W. Fort Street, 18th Floor, Courtroom 1825,
Detroit, Michigan.




                                                 VI.
                                        Miscellaneous Matters

       (a)     Adjournment(s) or Changes in this Order

              Requests for adjournment of the final pre-trial conference or the trial are governed
by L.B.R. 5071-1 (E.D.M.). Any changes in any other dates or provisions of this order are to be


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sought in accordance with L.B.R. 9014-1 (E.D.M.), or by written stipulation provided that in any
case good cause shall be shown, and approval of the Court is required.

       (b)     Exhibits and Discovery Disputes

                Exhibits to be offered in evidence are to be processed pursuant to E.D. Mich. LBR
7016-1(d). Note should be taken of E.D. Mich. LBR 9014-1(h) relative to discovery disputes.
Parties are encouraged to resolve disputes before a motion regarding discovery is filed, and are
directed to strictly comply with E.D. Mich. LBR 9014-1(g) and (h) if a motion is ultimately
required.

       (c)     Settlement

               Note should be taken of L.B.R. 9019-1 (E.D.M.) relative to settlements.


       (d)     Status or Pretrial Conference Request

               Any party may request a status conference (or a conference to discuss or further
consult in reference to this order) by a communication, in writing, addressed to the Court with
copies to opposing or other counsel and/or any pro se parties. Upon receipt of such a request (or
sua sponte) the Court will schedule such a conference (in person or by phone) if the Court believes
it will advance or be helpful in the disposition of this proceeding.


       (e)     Filing of Discovery Materials

               See L.B.R. 7026-1 (E.D.M.) regarding the filing of discovery materials.


Signed on: November 14, 2019




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